     Case 2:11-cr-00181-WFN    ECF No. 428   filed 06/29/12    PageID.1004 Page 1 of 1




 1
 2
 3
                               UNITED STATES DISTRICT COURT
 4                            EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,             ) No. CR-11-181-WFN-10
 6                                           )
                Plaintiff,                   ) ORDER GRANTING THE UNOPPOSED
 7                                           ) MOTION TO MODIFY, AS AMENDED
       v.                                    )
 8                                           )
       DONALD B. CUMMINGS,                   )
 9                                           )
                Defendant.                   )
10                                           )
                                             )
11
12          The Defendant’s unopposed Motion to Modify (ECF No. 411) is

13    GRANTED   as   amended     at   the    hearing.         As   discussed   in   court,

14    Defendant’s family does not have criminal histories, and Defendant

15    shall participate in confirmed drug testing while away with his

16    family.

17          IT IS SO ORDERED.

18          DATED June 29, 2012.

19
20                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
21
22
23
24
25
26
27
28

      ORDER GRANTING THE UNOPPOSED MOTION TO MODIFY, AS AMENDED - 1
